10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

Case 1:21-cr-00003-RCL Document 59 Filed 07/06/21 P&de Pot oe Ls

sd

 

 

June 30, 2021. Judge Lamberth. 3:00. UG ob-9. "i

THE CLERK: Good afternoon, Your Honor. we're
on the record in Criminal Case 21-3, United States of
America versus Jacob Anthony Chansley. Counsel, please
identify yourselves for the record.

MR. NELSON: Good afternoon, Your Honor. Jim
Nelson for the United States standing in for Kim Paschal].

THE COURT: All right.

MR. WATKINS: Albert watkins present here on
behalf of the defendant, Jacob Chansley.

THE COURT: Okay. Mr. Chansley, can you hear me
okay?

THE DEFENDANT: Yes, Your Honor. I can. Thank
you.

THE COURT: Okay. All right. Mr. Watkins,
we're here on your motion. So you may proceed.

MR. WATKINS: Thank you, Your Honor.

I do not want to put this Court through the
burden of having a re-recital of an extraordinary amount
of information that's been set forth in the original
motion, the response in opposition submitted by the
government and the reply filed by the defendant. I do not
want to belabor the supplemental briefing on the issue of
the flight risk. But I do want to highlight matters of

importance. Since the initial detention hearing conducted

C/24

 

 
BR WN HF

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

Case 1:21-cr-00003-RCL Document 59 Filed 07/06/21 Page 2 of 24

 

 

by this Court, significant additional new information and
evidence has come forth which supports the proposition
that the gravamen of the evidence relied upon by the Court
in the initial ruling of this Court for pretrial opposing
or denying pretrial release of Mr. Chansley was erroneous.
The new evidence includes the ascertainment that the
finial and flag pole and flag which the government
represented to this Court was a dangerous weapon and which
this Court had every right to rely on on the accuracy of
this affirmative longstanding representation of the
government which was made at the first detention hearing
in front of the magistrate in Phoenix, it was and has been
Since determined that that flag, that flag pole and that
finial have been in the possession of the government since
the defendant voluntarily surrendered himself in Phoenix
on January 9 and provided the government with access to
introduction of that flag pole, flag and finial. Only to
find out that, you know, the government which obviously
did not present the flag pole or the inspection by parties
much less the Court, that flag pole and that finial and
the flag were not able to be used as a deadly weapon. In
fact, that finial had no screw or no nail that would affix
it to the pole. But rather if you see the images, all of
the images of the defendant as he travels up to, into

through and outside of the Capitol building on

 

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

Case 1:21-cr-00003-RCL Document 59 Filed 07/06/21 Page 3 of 24

 

 

January 6th, he is holding that pole upright,
perpendicular to the ground and he's doing that for a
reason. Because if he tilted it, the finial and the flag
would fall off. It was not able to be used as a weapon.

And despite the fact that the government had
that flag pole and finial and flag in its possession, the
government insisted on representing to this Court that it
was a deadly weapon when pointedly sua spontae by the
Court and asked by the Court if it was a deadly weapon.

In addition to that, we as we noted with the
Court in our briefing, we made a public plea for video
footage, video footage that the government dismissed
because the links that we provided to this Court depicting
the defendant traveling up to, through and outside of the
Capitol after he traversed its hallways, because the links
were on YouTube, they were somehow worthless. They were
open to the public. They were from the public. No.
Indeed those were videos that we posted on YouTube to
acquire the links so that we could incorporate the links
into the brief.

So we have a -- the new information is basically
a video montage of not entirely but most steps taken by
the defendant as he traversed the hallways of the Capitol,
which depict among other things efforts on the part of the

defendant to garner the friendly return of a stolen shield

 

 
BR WwW NY

oO wo N DD

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

Case 1:21-cr-O0003-RCL Document 59 Filed 07/06/21 Page 4 of 24

 

 

by an individual in the Capitol back to the police, the
thwarting of the much maligned muffin theft in the break
room in the Senate outside of the Senate chamber. we had
video that clearly depicted the defendant assisting law
enforcement in emptying out the chamber and the Capitol
after the President told everyone it was time to go home.

we demonstrated through the video that we
provided to the government that the defendant was the
recipient of express permission granted by a high ranking
member of the Capitol Police force, Capitol Police
department, being one of the high ranking inspectors.

we provided the government with video footage
depicting the defendant traversing the halls of the
Capitol in line with law enforcement as they were emptying
out the Capitol. We provided video of the defendant on
his bull horn telling people to get out of the chamber and
to get out of the Capitol.

we provided video to the government depicting
the defendant standing on the elevated what was then
grassy circle area in the upper west balcony of the
Capitol. It's now just dirt. As people passed by him,
hundreds of them passed by him into the Capitol before the
defendant entered the Capitol, the defendant was standing
on that grassy circle allowing selfies to be taken of him

by others.

 

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

Case 1:21-cr-O0003-RCL Document 59 Filed 07/06/21 Page 5 of 24

 

 

The video footage that we provided to the
government included clear depiction of the defendant
having the door held open for him by officer Robichaux as
he entered into the Senate chamber.

we provided to the government clear video
footage depicting my client, Mr. Chansley, walking into
the Capitol through doorways that were being held by and
lined by law enforcement. We provided video footage of
numerous instance of friendly, respectful interaction by
and between the defendant with law enforcement both inside
of and afterwards outside of the Capitol where law
enforcement were in his immediate vicinity, said nothing
about nor did they seek to seize the flag pole with the
flag on it and the finial on top. This despite that being
the same flag pole that was donned as part of the Shaman
costume, if you will, worn by Mr. Chansley for a period
leading up to January 6th. That included times when
including on January 6th when there were security check
points where weapons going down to nail clippers and
pocket knives were being confiscated. No such
confiscation or seizure of the flag, flag pole or finial
occurred with Mr. Chansley.

The most interesting and I believe probative
issue that has come to light during the course of our

briefings had been the mental health issues that the prior

 

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

Case 1:21-cr-00003-RCL Document 59 Filed 07/06/21 Page 6 of 24

 

 

or pre-existing mental health vulnerabilities that were
diagnosed or noted during psych exams when the defendant
was in the custody of the U.S. military as a member of the
armed forces in 2006. And, Your Honor, I have confirmed
that the psych exam has concluded and we understand the
results of that exam will be forthcoming in short order.

we have been forced and compelled to face the
reality that the government is opting to vigorously fight
the pretrial release of the defendant despite the fact
that I was able to provide the government and this Court
with nothing short of 20-something defendants who were
charged with crimes arising out of January 6th that
involved violence, theft, destruction, weapons, vitriol
and the various acts, all of whom were released for
pretrial release, many of whom were released on their own
recognizance.

And the Court in its decision, this Court in its
decision in denying the pretrial release relied very
heavily, overwhelming heavily on the representation of the
government about the deadliness of the weapon, the flag
pole, the spear, whether you call it a spear or a finial,
and this information in turn put us all in a position of
having to address with a really elevated degree of clarity
that the lip service that is given -- very genuine lip

service that is given by the government by and through its

 

 
Oo oOo NN DD

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

Case 1:21-cr-00003-RCL Document 59 Filed 07/06/21 Page 7 of 24

 

 

what I call boots on the ground, the Assistant U.S.
Attorney is based on a learned appreciation for not just
the videos that we have provided including other videos
that were demonstrative of an elevated degree of
cooperation by Mr. Chansley. But that there is a
dichotomy between the knowledge and position of the boots
on the ground, the Assistant U.S. Attorneys, and those up
the chain of command who are forcing and compelling their
boots on the ground, the Assistant U.S. Attorneys not to
have the role, the traditional role that they have in
addressing counts and the reconciliation of cases by means
of various forms of pretrial disposition.

In addition, what has not been brought to the
fore for the benefit of this Court is that since the
initial hearing, a great deal of collaborative undertaking
was pursued on behalf of and by the defendant such as to
permit not one, but multiple debriefings to be conducted
by the FBI and the Assistant U.S. Attorney of the
defendant. This was done without promises. This was not
done without a plea deal. This was not done as part of a
formal proffer. It was done as a debriefing. And the
cooperation, the assistance, the information, the video
that had been provided to the government by the defendant
demonstrate a wholesale commitment by the defendant doing

that which is right for the country, that which is right

 

 
Oo Oo NN DD

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

Case 1:21-cr-O0003-RCL Document 59 Filed 07/06/21 Page 8 of 24

 

 

for the government. And at the end of the day that which
is properly demonstrative of a sense of responsibility and
prudence living up to his longstanding love of his
country.

The government has gone so far as to suggest
that the pretrial release of Mr. Chansley should not be
granted. And what's really telling is that as part of
that opposition, when it was brought to the government and
the court's attention that we now were aware of the fact
that that flag pole wasn't useless. It was nothing more
than a thimble or a clan on a hot July day. It was no
more dangerous than that.

The government in its response in opposition did
not mention the flag, did not argue the flag, did not
attempt to again characterize it as a weapon. And in fact
certainly did not bring to the Court or to permit me to
any access to the flag or the finial or the pole. That
wholesale absence of addressing that issue is one which I
as counsel respect. If I was in the Assistant U.S.
Attorney's shoes, I would probably do the same thing
except I would also say Court, you're right or the
defendant is right, that finial wasn't held on to the top
of that flag pole such as to render it a deadly weapon;
you are right, the defendant is right; in fact if you

tipped that flag pole over, that finial would fall over.

 

 
BR Ww NY

oO Oo N DD

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

Case 1:21-cr-00003-RCL Document 59 Filed 07/06/21 Page 9 of 24

 

 

You know, it is obviously our duty and our
burden to show that this new evidence and that this new
information is sufficient to warrant reopening the
detention hearing. But the government is now going so far
as to assert that the defendant is a flight risk because
he lives in a state that borders an international boundary
somehow rendering citizens close to Mexico and citizens
close to Canada less entitled to their lawful rights to
pretrial release.

So, Your Honor, given the totality of the
circumstances, given the new evidence, given the new
information, given that which has been set forth in the
full briefing of these issues that are before the Court,
we request that the Court grant the defendant pretrial
release subject to those conditions that are deemed
appropriate by this Court. There are plenty of terms and
conditions that be can set forth. If the government does
not like Arizona despite the fact that Mr. Chansley has
never owned a passport, speaks no foreign language, has
never been out of this country except with the military,
has lived in Phoenix all of his life, his mother has lived
in Phoenix all of his life. His mother has lived in the
same home for all of Jacob's life virtually and Mr.
Chansley lives with his mother. His maternal grandfather

lives there. His maternal step grandmother lives there in

 

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

Case 1:21-cr-O0003-RCL Document 59 Filed 07/06/21 Page 10 of 24

 

very close proximity. The maternal grandfather is the
sole significant male role model up with whom defendant
grew.

The defendant's -- two of the defendant's
siblings reside in Phoenix. Of course, the defendant has
made his home in Phoenix, has worked in Phoenix. And,
yes, he has had prior to his self peaceful self surrender
worked in Phoenix.

Now what's interesting also is the government
mischaracterized virtually everything about the defendant,
trying to make him out to be everything from any drug
user, mischaracterizing the government's own FBI forms and
reports that were disclosed as part of discovery, has made
it clear that the defendant did not try any drugs ever.
Didn't use any drugs other than marijuana. That the
defendant had not consumed alcohol for many, many years
preceding peacefully self-surrendering.

The government failed to note for the Court that
the second the defendant learned of the interest in him by
the FBI, he didn't wait until he returned to Phoenix. He
was on the grid. He got on his phone. He called the FBI.
He spoke freely with them. He spoke honestly with them.
He was truthful with them as he was throughout protracted
debriefings.

The government knows the defendant is not lying.

 

 

10

 
Oo om N DD

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

Case 1:21-cr-00003-RCL Document 59 Filed 07/06/21 Page 11 of 24

 

 

The government knows the defendant made representations
that helped the government, provided the government access
to video that the government would not have otherwise had
that related to the theft of classified material from the
Capitol on January 6th.

So we have before us a unique opportunity to
take advantage of this hearing and permit the defendant
pretrial release. If Arizona is not the place for the
defendant because it's close to Mexico, we have
alternative arrangements available for him in a secure
location in St. Louis, close proximity to my office that I
am confident will give rise to no concern on the part of
pretrial services. I'11 be happy to talk to you in detail
about that off the record, off the public record to avoid
disclosure of names and locations.

we have healthcare lined up, mental healthcare
lined up for the defendant in both Phoenix and St. Louis
and it's mental healthcare that's needed. The goal
objective is to take a man who has a high degree of mental
acuity and capacity to hold it together to not only be
appreciative of his role in getting where he is today, but
being able to play a role in his defense, to assist his
counsel, to assist his counsel in assisting him and that's
something because of COVID, because of confinement,

because of representations made by the government, because

 

11

 
Oo wo NN DD

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

Case 1:21-cr-O0003-RCL Document 59 Filed 07/06/21 Page 12 of 24

 

of the cumbersome nature of communication by telephone or
by video conferencing, and to be in person simply cannot
be accomplished.

with that obviously an oral supplement to the
briefs that have been filed with the Court, I would
request this Court take those measures necessary to order
the pretrial release of the defendant subject to and
pursuant to those terms and conditions that the Court
deems appropriate to ensure the safety not only of the
defendant, but obviously to secure his presence here.

The defendant is a man who needs some attention
that he is not able to get. I want to be able to put this
Court in a position of a high degree of comfort knowing
that this case is able to be deposed of one way or another
with a competent, cogent, articulate defendant. And this
defendant is capable of that. But in an environment
involving socio stresses associated with protracted
indefinite solitary confinement, that's not going to
happen. And that's an injustice for the defendant, but
for all of us because of the historical import of
January 6th and because of just basically the most
fundamental tenets of our justice system. This is a man
who has zero, zero criminal history and an overwhelming
longstanding commitment to all that is nonviolent.

THE COURT: I think you started the right way by

 

 

12

 
Oo CO N DD

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

Case 1:21-cr-00003-RCL Document 59 Filed 07/06/21 Page 13 of 24

 

 

talking about in order to reopen the detention decision, I
have to look at what conditions have changed, what
material information that was unknown at the time of the
original decision. And I understand the arguments you've
made about what changed on the dangerousness question.
I'm not sure that there's any different information now
that I had at the time of the initial decision though on
risk of flight. what is the new information on risk of
flight that I didn't have at the time of the initial
decision and there has to be something material that has
changed.

MR. WATKINS: Yes, Your Honor. In the initial
hearing, I did not provide the Court with nor did I have
information about the longstanding tenure of residency of
the defendant in Phoenix or the ties that he had in
Phoenix including the lifetime of residency in Phoenix for
all of the years of her life of the mother of the
defendant, the close proximity of the mother of the
defendant to the siblings of the defendant in Phoenix, the
grandfather of the defendant in Phoenix, the cousins and
other relatives of the defendant in Phoenix.

what I was not aware of at the time nor was the
Court was the -- what were the vulnerability issues that
are longstanding which I believe play a really important

role in the Court's evaluation of new information and

 

13

 
k WwW NY

mo oOo N OD

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

Case 1:21-cr-00003-RCL Document 59 Filed 07/06/21 Page 14 of 24

 

 

evidence. Those mental vulnerabilities are not -- are not
are not fictional. They were not created out of thin air.
They are documented by the government's own records,
albeit through the U.S. military. But that longstanding
period between 2006 and the present without a blemish of
criminality showing up in the record of the defendant
reflection indicates that absent the socio stressors that
trigger the vulnerabilities that are reflected in the
medical records and described more fully in the narrative
provided to the doctor conducting the psych exam pursuant
to the request of the court puts us all in the position

of -- even the government -- having a high degree of
comfort with the ability of the defendant to navigate
peacefully in a fashion wholly compliant with the
directive of the Court, especially the directive to return
to court.

I cannot understate the importance or overstate
the importance of the weapon, the flag pole because that
was the corpus that served as the basis for the decision
of this Court to deny the initial request for pretrial
detention. The flight risk issue, the response of the
government was jaw dropping for me because I don't know
how to respond to an agent acting on behalf of the
government in the form of an Assistant U.S. Attorney to

the Department of Justice suggesting that somehow because

 

14

 
un &. Ww

Oo wa N DD

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

Case 1:21-cr-00003-RCL Document 59 Filed 07/06/21 Page 15 of 24

 

 

an accused lives in a state that borders another country
that somehow the burden on that defendant should be
greater.

THE COURT: Did the person at Colorado that you
talked to give you an indication of when their initial
report might be sent along to me to advocate for that?

MR. WATKINS: Yes, Your Honor. I will represent
to this Court that the information that I garnered was
directly from my client. I did not speak to the doctor.
My client indicated to me that he was told that the final
portion of a protracted series of meetings with the doctor
assigned to this matter concluded the end of last week at
which time my client was advised that the report would be
finalized in very short order because she understood the
importance of it to the Court and that she anticipated the
Bureau of Prisons would be picking him up for transport
back to Alexandria anywhere from two days to two weeks.
That was the window --

THE COURT: All right. That's helpful. Okay.
All right. Mr. Nelson?

MR. NELSON: Yes, Your Honor. Thank you.
Briefly, I would just note that the most important factor
before the Court is whether there is new or material
information with regard to the detention proceedings.

Counsel for the defendant has been talking for more than

 

15

 
Oo CoO N OD

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

Case 1:21-cr-O0003-RCL Document 59 Filed 07/06/21 Page 16 of 24

 

20 minutes and hasn't said a single thing he hasn't said
before. This is all whether or not there was a weapon,
whether or not the defendant was at the front of the line
or back of the line or walked in through open doors. All
of that is disproven by the actual video footage from
inside the Capitol.

The defendant did not walk in through doors held
open by the police. The video was clear that he was part
of the very first group of people who pushed past the
police. He entered the Capitol through a window broken
open by Dominic Pasolla. It's on CCTV. It's made all the
more easy to discern by the fact that the defendant wore a
buffalo hat and face paint. He's not easy to miss.

It's very clear from the footage that the
defendant pushed his way into the Senate chamber alongside
officer Robichaux as officer Robichaux is telling him he
should leave and instead walks up onto the dais, sits in
the vice president's chair, writes a threatening note, all
the while consistent with the defendant calling the vice
president a "fucking traitor." There is no new
information here.

To the extent that it's new, it's not material.
The defense counsel may have found videos which he thinks
might be useful in defeating elements of the offenses at

trial, but none of them go to the actual factors before

 

 

16

 
mn BP Ww NYO

Oo wo N DD

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

Case 1:21-cr-O0003-RCL Document 59 Filed 07/06/21 Page 17 of 24

 

 

the court. And they certainly don't bear on the risk of
dangerousness for flight if the defendant is released. It
1s simply recycled arguments and reworded hyperbole that,
first of all, the defendant didn't do what the videos show
him doing. Or if he did, he was brainwashed along the
lines of 60 Minutes interview under the guise of a legal
call by the sitting president of the United States. or if
the Court doesn't believe that, he was incompetent on
January 6th and remains incompetent today. And
interestingly, Your Honor, that last point which the
defense says is its most probative point is critically
important for the Court because if the defendant is
actually incompetent which the psyche eval hasn't come
back yet, then the Court can't release him. We have to go
through civil commitment proceedings to have him held.

So this is -- to the extent that there's
anything here for the Court to rule on, it's not ripe
because we have an incompetence standard to review before
we go down any further down the path. And so I would say
to the court that, first of all, there is no basis to
reopen the detention hearing. But to the extent that
there is, we cannot do anything until we hear back on the
defendant's competence.

THE COURT: All right. I had a couple of

questions for the government as well.

 

17

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

Case 1:21-cr-0O0003-RCL Document 59 Filed 07/06/21 Page 18 of 24

 

MR. NELSON: Yes, Your Honor.

THE COURT: In the supplemental brief, the
government said that the defendant is one of the prominent
figures of QAnon, but other than the evidence of his
ability to quickly raise large sums of money for travel
through non-traditional sources, does the government hold
any evidence that the defendant actually has a leadership
role in QAnon or what evidence does the government have
about what he really is as to QAnon or what his role is as
to QAnon?

MR. NELSON: Your Honor, to answer your
question, I think that largely that information is unknown
to the government other than the defendant's I would say
outspokenness with regard to QAnon and its positions
vis-a-vis in particular the election.

THE COURT: Okay. If the Court were to release
the defendant to some sort of home confinement or some
other conditions that the defendant is proposing now and
order that he not use the Internet in the interim, would
that mitigate the risk that he could use -- raise money to
travel or what -- how do you address that as a mitigating
factor because of QAnon? I don't quite understand how
that works in the government's view.

MR. NELSON: well, Your Honor, I just --

realistically, I don't think that -- and I mean no

 

 

18

 
Oo oa N DD

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

Case 1:21-cr-00003-RCL Document 59 Filed 07/06/21 Page 19 of 24

 

 

disrespect to the Court, but I don't know how you put
somebody on release with the condition that they not
access the Internet because accessing the Internet can be
done from so many different devices and in such an
anonymous way as to make it virtually unenforceable. And
I think that's the real issue. It can be done from
anywhere by so many different devices that I don't know
how any supervising agency would enforce that condition.

MR. WATKINS: Your Honor, if I may?

THE COURT: Yes.

MR. WATKINS: The government debriefed Mr.
Chansley on a number of occasions. One of the subject
matters that was thoroughly vetted and inquired about for
a protracted period was how Mr. Chansley could afford to
get to Washington, D.C. for the MAGA Man March in
September and then again for the -- or in, yeah, and then
again for the January 6th event. And the government knows
exactly how Mr. Chansley did it. He drove a car. He
drove in a car with another individual. The other
individual put in money and Mr. Chansley had received $500
in cash from an individual that was named by Mr. Chansley.
The government knows who it is. They vetted it out. They
understood it. The government knows that Mr. Chansley has
been removed from every social media platform. The

government also knows that Mr. Chansley had a very limited

 

19

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

Case 1:21-cr-O0003-RCL Document 59 Filed 07/06/21 Page 20 of 24

 

following on those social media platforms in the first
place.

The government knows that the defendant is not a
man of wealth capable of raising large funds, large amount
of money quickly, slowly over time. They know that the
defendant is a man of simple means who is not someone who
1S navigating the Internet on a routine basis except when
he's able to garner access to the Internet. His family
home is not one, as I understand it right now, that not
only doesn't have Internet service now, hasn't had it for
a protracted period.

The fact is, Your Honor, whether he had access
to the Internet or not, Jacob Chansley, the Shaman, the
guy with the horns is being not only disinterested in
politics and all of that, but he's the last person in the
world that anybody who was a part of QAnon would want
anything to do with between now and the end of the world.

THE COURT: All right. Anything else,

Mr. Nelson, you wanted to add?

MR. NELSON: No, Your Honor. Thank you.

THE COURT: Okay. Mr. Watkins, anything else
you wanted to add?

MR. WATKINS: Yes, Your Honor.

THE COURT: I'll give you the last word.

MR. WATKINS: Thank you very much. You know,

 

 

20

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

Case 1:21-cr-00003-RCL Document 59 Filed 07/06/21 Page 21 of 24

 

 

the government obviously has its job to do. Mr. Nelson,
I'm very respectful of, I don't know him, he is ina
difficult position right now. He does not know the full
extent and nature of the debriefings and all of the miles
and miles of footage and information that is available and
has been available to the Assistant U.S. Attorney. But,
you know, there's two things that are really, really
important here. It's disingenuous for the government, for
the Department of Justice to say there and to this Court
at this time and say there's nothing new, there's no new
evidence. we're in a pandemic era. We're conducting
hearings before this Court remotely. I don't have the
defendant sitting at my side able to whisper in my already
compromised ears to tell me in the midst of a hearing, oh,
by the way, that flag pole, that finial was on top, it
wasn't affixed; if I tilted it down, it would have fallen
off.

What the problem is that renders the
disingenuous nature of the government's representations
appalling is that the government knew and if they didn't
know, they sure should have because they possessed that
flag, that flag pole and that finial since the very day
that the defendant voluntarily and peacefully surrendered
himself on January 9, that was just as the defendant said

he would do when he had called the FBI on January 8th and

 

21

 
wa Ee WwW

oOo Oo N DD

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

Case 1:21-cr-O0003-RCL Document 59 Filed 07/06/21 Page 22 of 24

 

talked to them on the phone and said, yes, you want to
talk to me, I'll talk to you, I'll be there, I'll be there
tomorrow, I'll see you then and he showed up and exactly
as he said.

This is not a man who's off the grid. It's not
a man who is trying to hide. It's not a man who has
demonstrated criminal background on any level ever. He
represented to the Court that he had a ticket in Oklahoma
on the way home from the January 6th events and in fact
made sure that they got taken care of. It's not
outstanding. It's not an issue. A traffic ticket.

So the insanity that I'm compelled to embrace
here is that the government is going to say, yes, we knew
it, we didn't represent to the Court that this finial just
would fall off and maybe we didn't know it, but we should
have known it, but I'm not going to point to that either;
I'm simply going to say what's new. well, what's new is
really a big deal, especially in light of the basis for
the decision of this Court at the initial detention
hearing.

As to the government's representations about the
mental vulnerabilities of my client, there's an issue.

And I'm the first one to admit that I am probably the
least touchy feely and socially sensitive human being in

the world. But the fact is there are multiple forms of

 

 

22

 
wa BR WwW NHN

Oo wea N DD

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

Case 1:21-cr-O0003-RCL Document 59 Filed 07/06/21 Page 23 of 24

 

 

mental health vulnerability that don't render somebody in
need of civil commitment.

There are transient fluid mental health
vulnerabilities and those vulnerabilities can take a
person who falls well inside the bell curve of what you
and I and Mr. Nelson may describe as normal and render
them because of some stressful or stressor or what they
call socio stressor event a person who is well outside
that bell curve of normalcy. Be it a transient form of
schizophrenia and aggressive or fluid form of Aspergers, a
combination, bipolarity, again a combination.

what we're trying to do here is to avoid having
our client being someone who is not capable and have to be
civilly committed. what we're trying to do is maintain
the integrity of these proceedings. what we're trying to
do is to make sure that justice is served in a fashion
which means there is meaning to these proceedings, there
is a reason for the government having charged the
defendant, there is a reason why the defendant should have
the right and the ability to move forward with his defense
and his rights under the Constitution as a defendant, but
not to have the government put him in a position because
they have chosen to misrepresent to the Court the nature
and character of a very important element of the Court's

decision and simply say, oh, you know, we knew or maybe we

 

23

 
wn fb Ww

Oo Oo N DD

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

Case 1:21-cr-00003-RCL Document 59 Filed 07/06/21 Page 24 of 24

 

 

should have known, but we didn't do anything about and,
you know, that's the basis, he needs to be committed now.
He needs to be committed because for a hundred and fifty
days, he's been sitting in solitary confinement 22, 23
hours a day. On the best day of the most mentally sane
and healthy human being in the world, you are going to
turn into a blithering idiot in a hundred and fifty days
with no end in sight.

I want my client to be able to be in a position
to confront his own -- the consequences of his own
actions, to do it in a learned fashion and to dispose of
this case, to maintain the integrity of the disposition
for the benefit of the government, for the benefit of the
defendant and for the benefit of this Court.

THE COURT: All right. The matter is submitted.
I'll rule as promptly as I can. Thank you very much,
counsel.

MR. WATKINS: Thank you, Your Honor.

MR. NELSON: Thank you, Your Honor.

 

24

 
